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5
6
7                     IN THE UNITED STATES DISTRICT COURT
8                    FOR THE EASTERN DISTRICT OF CALIFORNIA
9
     UNITED STATES OF AMERICA,     )
10                                 )          No. 2:05-cr-00227-MCE
                    Plaintiff,     )
11                                 )
               v.                  )
12                                 )          STIPULATION AND ORDER
     BENITO TOPETE,                )
13                                 )
                    Defendant.     )
14   ______________________________)
15        It is hereby stipulated between the parties, Plaintiff United
16   States of America, by and through United States Attorney McGregor W.
17   Scott and Assistant United States Attorney Phillip A. Talbert, and
18   Defendant Benito Topete, through his attorney Dan Koukol, as
19   follows:
20        It is agreed that the current Status Conference date of January
21   24, 2008, be vacated and a new Status Conference date of February
22   28, 2008 at 9:00 a.m. be set.
23        The continuance of the status conference is necessary because
24   the government has produced in discovery approximately 50-100 pages
25   of law enforcement reports and audio and video recordings relating
26   to the defendant, and the defendant’s attorney needs additional time
27   to review this discovery, discuss it with the defendant, and discuss
28   the case with government counsel.

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1         Accordingly, the parties jointly request a new status
2    conference date of February 28, 2008, and that the time period from
3    January 24, 2008, to and including February 28, 2008 be excluded
4    under the Speedy Trial Act pursuant to 18 U.S.C. §3161(h)(8)(B)(iv)
5    and Local Code T4 for defense preparation and based on a finding by
6    the Court that the ends of justice served by granting a continuance
7    outweigh the best interest of the public and defendant in a speedy
8    trial.
9
                                                 Respectfully submitted,
10
     Dated: January 22, 2008                    /s/Dan Koukol
11                                             DAN KOUKOL, ESQ.
                                               Attorney for Defendant
12                                             BENITO TOPETE
                                             By PAT per telephone authorization
13
14                                               McGREGOR W. SCOTT
                                                 United States Attorney
15
     Dated: January 22, 2008                      /s/Phillip A. Talbert
16                                               PHILLIP A. TALBERT
                                                 Assistant U.S. Attorney
17                                               Attorney for Plaintiff
18                                         ORDER
19   FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
20
     Dated: January 25, 2008
21
22                                         _____________________________
23                                         MORRISON C. ENGLAND, JR.
                                           UNITED STATES DISTRICT JUDGE
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